          Case 3:05-bk-03817-JAF         Doc 303-3     Filed 03/07/05    Page 1 of 1




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________x
In re:                                    :                        Chapter 11
                                          :
WINN-DIXIE STORES, INC., et al.,          :                        In re: Case No. 05-11063
                                          :
                  Debtors.                :                        (Jointly Administered)
__________________________________________:

                  ORDER OF ADMISSION TO PRACTICE, Pro Hac Vice

       I, William Douglas White, a member in good standing of the bars of the District of

Columbia and in the States of Maryland and Florida, and admitted to practice before the

Supreme Court of the United States and the U. S. District Courts for the District of Columbia and

the District of Maryland, having requested admission, pro hac vice, to represent FLORIDA

POWER & LIGHT COMPANY, in the above referenced Chapter 11 bankruptcy case.

ORDERED,

That WILLIAM DOUGLAS WHITE, is admitted to practice, pro hac vice, in the above

referenced Chapter 11 bankruptcy case, in the United States Bankruptcy Court, Southern District

of New York, subject to payment of the filing fee.

Dated: _____________, 2005
       New York, New York



                             _________________________________
                             ROBERT D. DRAIN
                             United States Bankruptcy Judge
